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EXHIBIT

oh U.S. District Court
DISTRICT OF ARIZONA

CLOSED, STAY-CASE. STD

(Phoenix Division)
CIVIL DOCKET FOR CASE #: 2:08-cv-01207-NVW

Equal Employment Opportunity Commission v. Cheesecake
Factory, Inc

Assigned to: Judge Neil V Wake

Cause: 42:2000e Job Discrimination (Employment)

Plaintiff

Equal Employment Opportunity represented by
Commission

Date Filed: 06/30/2008

Date Terminated: 11/06/2009

Jury Demand: Plaintiff

Nature of Suit: 442 Civil Rights: Jobs
Jurisdiction: U.S, Government Plaintiff

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Case 8:09-cv-02398-AW Document 16-2 Filed 12/28/09 Page 20

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3 of 16

Vv.
Intervenor Plaintiff

Bryce Fitzpatrick

Intervenor Plaintiff

Albert Miller

V.

Defendant

Cheesecake Factory, Inc
ad Delaware corporation

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Case 8:09-cv-02398-AW Document 16-2 Filed 12/28/09 Page 3 of 4

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ATTORNEY 70 BE NOTICED

 

Date Filed

Docket Text

 

06/30/2008 1

COMPLAINT., filed by Equal Employment Opportunity Commission,
(Attachments: # 1 Civil Cover Sheet, # 2 Summons)(Kruse, Katherine)
(Entered: 06/30/2008)

 

06/30/2008

This case has been assigned to the Honorable Neil V. Wake. All future
pleadings or documents should bear the correct case number: CV08-01207-
PHX-NVW. This is a TEXT ENTRY ONLY. There is no PDF document
associated with this entry. (HIH) (Entered: 07/01/2008)

 

06/30/2008

[tO

Notice re Notice of Availability form (HIH) (Entered: 07/01/2008)

 

07/01/2008

Ia

Summons Issued as to Cheesecake Factory. Inc. (HTH). *** IMPORTANT:
You must select "Document and stamps" or "Document and comments" on the

print screen in order for the court seal to appear on the summons you print.
(Entered: 07/01/2008)

 

10/02/2008

[4

ORDERED pursuant to Rule 4(m), Fed. R. Civ. P.. that this action shall
bedismissed on or after October 30, 2008, without further notice to Plaintiffs,
unless before then Plaintiffs have served defendants with process and have
filed with the clerk of the court proof thereof pursuant to Rule 4(1). Signed by
Judge Neil V Wake on 10/2/08. (SJF) (Entered: 10/02/2008)

 

10/29/2008

[uA

Notice re Waiver of Service by Equal Employment Opportunity Commission
(Attachments: # 1 Exhibit Waiver of Service)(Kruse, Katherine) (Entered:
10/29/2008)

 

12/11/2008

[a

MOTION to Intervene by Bryce Fitzpatrick, Albert Miller. (Attachments: #1
Exhibit Proposed Complaint-in-Intervention)(Dessaules, Jonathan) (Entered:
12/11/2008)

 

12/23/2008

[J

ANSWER to | Complaint by Cheesecake Factory, Inc.(Rosenfeld, Lawrence)
(Entered: 12/23/2008)

 

12/23/2008

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ORDER issued: Scheduling Conference set for 2/20/2009 at 09:30 AM before
Judge Neil V Wake.See attached order for full details. Signed by Judge Neil V
Wake on 12/23/08. (SJF) (Entered: 12/23/2008)

|

 

12/23/2008

CERTIFICATE OF SERVICE by Bryce Fitzpatrick, Albert Miller re 6
MOTION to Intervene (Amended Certificate Regarding Service on
Cheesecake Factory) (Dessaules, Jonathan) (Entered: 12/23/2008)

 

 

12/24/2008 10

 

 

STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO
MOTION TO INTERVENE by Bryce Fitzpatrick, Cheesecake F actory, Inc,

 

 

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